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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

v.                                                     CASE NO.: 4:08cr29-SPM

MELISSA WILLIAMS,

           Defendant.
______________________________/


               ORDER FOR OUTPATIENT MENTAL EXAMINATION

       For good cause shown, Defendant’s Motion for Mental Examination (doc.

352) is granted. It is further

       ORDERED AND ADJUDGED:

       1.      Pursuant to 18 U.S.C. § 4247(b), the Attorney General shall provide

that Defendant be examined by a local, licensed or certified psychiatrist or

psychologist, to be agreed upon by the parties. There is no necessity for

Defendant to be committed to the custody of the Attorney General for the

examination.

       2.      Such examination shall determine, pursuant to 18 U.S.C. §§ 4241,

and 4247(b) and (c), whether at this time there is reasonable cause to believe
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that Defendant may presently be suffering from a mental disease or defect

rendering her mentally incompetent to the extent that she is unable to understand

the nature and consequences of the proceedings against her or to assist properly

in her defense. This examination shall be conducted as soon as practicable.

        3.       The examining psychiatrist or psychologist shall render as soon as

practicable, but not later than 30 days from the date of this order, a written report

with respect to the matters set forth above. This report shall be filed with this

court and copies shall be served upon the attorneys for Defendant and the

Government. The report shall include:

                 a.      Defendant’s history and present symptoms;

                 b.      A description of the psychiatric, psychological, and medical

tests that were employed and their results;

                 c.      The examiner’s findings; and

                 d.      The examiner’s opinion as to diagnosis, prognosis, and

whether Defendant suffers from a mental disease or defect to the extent that she

is unable to understand the nature and consequences of the proceedings against

her or to properly assist in her defense.

        4.       On or before April 3, 2009, the Government shall file a report on the

status of the examination that shall include the name of the examiner agreed



upon by the parties and the expected date for the examination.

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        DONE AND ORDERED this 19th day of March, 2009.



                                 s/ Stephan P. Mickle
                               Stephan P. Mickle
                               United States District Judge




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